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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



   UNITED STATES OF AMERICA

                                                  Criminal Action No. 21-00107 (RDM)
                 v.

   BRUNO JOSEPH CUA


      NOTICE OF FILING OF DECLARATION OF THIRD-PARTY CUSTODIAN

       Bruno Joseph Cua, through undersigned counsel, hereby submits the following notice of

the filing of a declaration from his third-party custodian for the week of May 8 through 15, 2023.

Pursuant to this Court’s March 10, 2021 Memorandum Opinion and Order (ECF No. 25), and

other orders in this case concerning Mr. Cua’s release conditions, Mr. Cua attaches to this notice

a declaration of third-party custodian Dr. Alise Cua attesting that Mr. Cua has complied with the

conditions of pre-trial release imposed by this Court for the period of May 8 through 15, 2023.

                                                     Respectfully submitted,

DATED: May 15, 2023                                  /s/ William E. Zapf
                                                     Jonathan Jeffress (D.C. Bar No. 479074)
                                                     William E. Zapf (D.C. Bar No. 987213)
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                                                     Attorneys for Bruno Joseph Cua
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                                CERTIFICATE OF SERVICE
       I hereby certify that on this 15th day of May, 2023, I filed the foregoing with the Clerk of

the United States District Court for the District of Columbia by using the CM/ECF system,

which system I understand has provided electronic notice counsel of record.



                                             /s/ William E. Zapf
                                             William E. Zapf
